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BART M. DAVIS, ID STATE BAR NO. 2696
UNITED STATES ATTORNEY
PETER L. WUCETICH, ID STATE BAR NO. 10557
ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF IDAHO
WASHINGTON GROUP PLAZA IV
800 EAST PARK BOULEVARD, SUITE 600
BOISE, ID 83712-7788
TELEPHONE: (208) 334-1211
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Email: peter.wucetich@usdoj.gov

Attorneys for the United States of America

                               UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO


 REBECCA A. COX,
                                                     Case No.
                  Plaintiff,
                                                     NOTICE OF REMOVAL
         v.

 PHIL BARBARICK,

                  Defendant.


        PLEASE TAKE NOTICE that the defendant in the above-captioned action hereby

removes it from the state court in which it was initiated to this Court. The grounds for removal

are as follows:

        1.        Phil Barbarick is the defendant in the above-captioned civil action which was

initiated in the District Court for the 7th Judicial District for the State of Idaho in and for the

County of Lemhi as Case No. CV30-19-290. No trial has yet been had in the action. Copies of

all process, pleadings, and orders served upon the defendant in this action are attached to this

Notice of Removal.

NOTICE OF REMOVAL - 1
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         2.    Defendant was first served with a copy of the summons and claim in the state

court action on November 25, 2019, and 30 days have not expired since receipt by the defendant

of a copy of the initial pleading setting forth the claim for relief upon which this proceeding is

based.

         3.    Defendant is a federal employee and works for the U.S. Department of the

Interior, Bureau of Land Management as an Environmental Protection Specialist. He is being

sued for actions taken in the course and scope of this employment for the Bureau of Land

Management.

         4.    Plaintiff’s claim has been brought under state law. Congress has provided a

statutory immunity from those state law claims in 28 U.S.C. § 2679(b). Under that provision, the

exclusive remedy for the negligent or wrongful act or omission of an employee of the United

States acting in the scope of office or employment shall be an action against the United States

under the Federal Tort Claims Act (“FTCA”), 28 U.S.C. §§ 1346(b) & 2671-2680.

         5.    Congress also provided in 28 U.S.C. §2679(d)(2) that upon certification by the

Attorney General that an employee acted within the scope of office or employment at the time of

the incident out of which the plaintiff’s claim arose, any civil action or proceeding commenced

upon that claim in a state court shall be removed without bond at any time before trial by the

Attorney General to the district court of the United States for the district and division embracing

the place in which the action or proceeding is pending. The civil action or proceeding shall then

be deemed to be an action or proceeding against the United States under the FTCA, and the

United States shall be substituted as the party defendant. Congress also provided in § 2679(d)(2)

that “[t]his certification of the Attorney General shall conclusively establish scope of office or

employment for purposes of removal.”

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       6.      The Attorney General has delegated authority to certify scope of office or

employment under 28 U.S.C. § 2679 to the United States Attorneys and to the Directors of the

Torts Branch of the Department of Justice Civil Division. 28 C.F.R. § 15.4(a). Attached to this

Notice of Removal is a Certification by the United States Attorney for the District of Idaho that

Defendant was acting in the scope of office or employment at the time of the incident out of

which Plaintiff’s claim arose.

       7.      Accordingly, this action must be deemed to be an action against the United States

for the purposes of Plaintiff’s state law claim, and it is therefore removed under 28 U.S.C. §

2679(d)(2). Osborn v. Haley, 549 U.S. 225 (2007).

       WHEREFORE, this action is hereby removed under 28 U.S.C. § 1442(a)(1) and 28

U.S.C. § 2679(d)(2), and the United States must be deemed the defendant for purposes of

Plaintiff’s state law claim under 28 U.S.C. § 2679(d)(2).


Respectfully submitted this 16th day of December, 2019.

                                                  BART M. DAVIS
                                                  UNITED STATES ATTORNEY
                                                  By:


                                                  /s/ Peter L. Wucetich
                                                  PETER L. WUCETICH
                                                  Assistant United States Attorney




NOTICE OF REMOVAL - 3
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 16th day of December, 2019, the foregoing NOTICE OF

REMOVAL was electronically filed with the Clerk of the Court using the CM/ECF system which

sent a Notice of Electronic Filing to the following person(s):

       N/A

       And by U.S. Mail, postage prepaid, to the following:

       Rebecca A. Cox
       203 South Railroad
       Leadore, Idaho 83464
       Plaintiff

                                                           /s/ Jessica Black
                                                           Jessica Black
                                                           Legal Assistant




NOTICE OF REMOVAL - 4
Details                                                                                    Page 1 of 3
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          Case Information




          CV30-19-0290               Lemhi County Magistrate   Barrett, James Howard, Jr
                                     Court

          10/11/2019                 C -Small Claims           Active - Pending




          Party


          Cox, Rebecca J




          Barbarick, Phil D


          XX/XX/1960




          United States of America                             Lead Attorney
                                                               Wucetich, Peter L.
                                                               Retained




https://mycourts.idaho.gov/odysseyportal/Home/WorkspaceMode?p=0                        12/16/2019
Details                                                                               Page 2 of 3
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          Events and Hearings




             US Certification of Scope of Employment




          Financial


             Total Financial Assessment                                           $70.00
             Total Payments and Credits                                           $70.00


          10/11/2019    Transaction                                              $69.00
                        Assessment

          10/11/2019    Transaction                                               $1.00
                        Assessment

          10/21/2019    Case Payment             Receipt # 02091-   Cox,        ($70.00)
                                                 2019-R30           Rebecca J




https://mycourts.idaho.gov/odysseyportal/Home/WorkspaceMode?p=0                      12/16/2019
Details                                                               Page 3 of 3
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https://mycourts.idaho.gov/odysseyportal/Home/WorkspaceMode?p=0       12/16/2019
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             S H E R I F F    O F   L E M H I       C O U N T Y

                               RETURN OF SERVICE
                                                                          SHERIFF# 20190311
                                                                       COURT CASE# CV30-l9-29O

County of Lemhi                )


                               )        ss                       SUMMONS & COMPLAINT
STATE OF IDAHO                 )


                                                                        LEMHICOUNTYDI         COURT
                                                                            HED\B’
COX,   REBECCA                                                              nME      Au4ﬁ
                                                                             LEMHI      CLE
                   PLAINTIFF                                           BY                     DEPU       Y
BARBARICK, PHIL                                                                                      I




                   DEFENDANT


I,   STEVE PENNER, Sheriff of the County of Lemhi, State of Idaho,

hereby certify that     I   received the attached SUMMONS & COMPLAINT

on the 18 day of November, 2019, and                    I    further certify that in

accordance with I.R.C.P.           4   and   5,   I   served a copy of the SUMMONS

& COMPLAINT,     on PHIL BARBARICK, he/she being the DEFENDANT named

in said document(s) on Monday,               the 25 day           of November,       2019,

at 6:50 p.m. at the following address:                       3   POLLARD TRAIL, SALMON,

ID 83467; by delivering a copy of the above named document to

him/her personally; to which was attached:


SUMMONS AND SMALL CLAIMS




         DATED this 26 day of November, 2019.


                             STEVE PENNER
                             Sheriff of Lemhi County

                             BY                             ,r     v
                                       JAKE'      SON
                                                            Electronically Filed
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                                                            12/12/2019   7:59 AM
                                                                               Seventh Judicial District, Lemhi County
                                                                               Brenda Armstrong, Clerk of the Court
                                                                               By: Debbie Howell, Deputy Clerk


BART M. DAVIS, ID STATE BAR NO. 2696
UNITED STATES ATTORNEY
PETER L. WUCETICH, ID STATE BAR NO. 10557
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Attorneys for the United States of America

               IN THE DISTRICT COURT FOR THE 7th JUDICIAL DISTRICT
             FOR THE STATE OF IDAHO, IN AND FOR THE COUNTY OF LEMHI
                           SMALL CLAIMS DEPARTMENT

 REBECCA A. COX,
                                                   Case No. CV30-19-290
                Plaintiff,
                                                   CERTIFICATION OF SCOPE OF
        V.                                         EMPLOYMENT

 PHIL BARBARICK,

                Defendant.


       I, Bart M. Davis, United States Attorney for the District of Idaho, acting under the

provisions of 28 U.S.C. § 2679(d)(2), and by virtue of the authority vested in me by 28 C.F.R. §

15.4, hereby certify that I have read the claim in this action. On the basis of the information now

available with respect to the claim set forth therein I find that Environmental Protection

Specialist Phil Barbarick was acting within the scope of his employment for the U.S. Department

of Interior, Bureau of Land Management at the time of the incident out of which the plaintiffs

claim arose.




CERTIFICATION OF SCOPE OF EMPLOYMENT -1
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Respectfully submitted this   44, day of December, 2119.



                                                          DAVIS
                                                United States Attorney




CERTIFICATION OF SCOPE OF EMPLOYMENT -2
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I am an employee of the United States Attorney's Office for

the District of Idaho, and that a copy of the foregoing CERTIFICATION OF SCOPE OF

EMPLOYMENT was mailed, postage prepaid, this 12 day of December, 2019 to:

      Rebecca A. Cox
      203 South Railroad
      Leadore, Idaho 83464
      Plaintiff


                                                    Jessica Black
                                                    Legal Assistant




CERTIFICATION OF SCOPE OF EMPLOYMENT -3
